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 5                         UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF CALIFORNIA
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 8
     UNITED STATES OF AMERICA
 9                                                    ) Case No.: CR S-08-090- EJG
              Plaintiff,                              ) STIPULATION AND
10                                                    )
            vs.                                       ) [PROPOSED]ORDER
11                                                    ) CONTINUING SENTENCING
     LUCIANO PORCAYO, et. al.,                        )
12                                                    ) HEARING AND ADOPTING NEW
                    Defendants.                       ) SCHEDULE FOR DISCLOSURE
13                                                    )
                                                        OF SENTENCING REPORT AND
14                                                      OBJECTIONS
15

16                                          Stipulation
17          The government and the defendant, Luciano Porcayo, through undersigned counsel,
18   stipulate and request that the sentencing hearing scheduled for May 21, 2010, at 10:00 a.m. may
19   be continued to June 25, 2010, at 10:00 a.m. and that the Court order the following schedule for
20   disclosure of the pre-sentence report and the objects thereto:
21          Disclosure of draft pre-sentence report               May 14, 2010
22          Written objections to draft PSR                       May 28, 2010
23          Filing and disclosure of PSR                          June 4, 2010
24          Motion for corrections of PSR                         June 11, 2010
25          Reply or statement of non-opposition                  June 18, 2010.
26          The request for the continuance of the hearing and the new schedule regarding the
27   sentencing report is made by the defense. Although the pre-sentence interview has already taken
28   place, defense counsel has an important family occasion conflicting with the current sentencing




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 1   date and would also request additional time to prepare for sentencing. The continuance is
 2   necessary to give the defense sufficient time to prepare for sentencing. Mr. Porcayo is out of
 3   custody on bond and is not opposed to the continuance of the sentencing.
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     DATED: March 25, 2010                                 Respectfully submitted,
 6                                                         /s/ Lindsay Anne Weston
                                                           _______________________________
 7
                                                           LINDSAY ANNE WESTON
 8                                                         Counsel to Luciano Porcayo
 9

10                                                         BENJAMIN WAGNER
                                                           United States Attorney
11

12                                                         /s/ Lindsay Weston for Samantha Spangler
                                                           [per e-mail authorization]
13                                                         __________________________________
14
                                                           SAMANTHA S. SPANGLER
                                                           Assistant U.S. Attorney
15

16                                         ORDER
17
            GOOD CAUSE APPEARING, IT IS SO ORDERED.
18
     DATED: March 26, 2010
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22                                                         /s/ Edward J. Garcia
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                                                           EDWARD J. GARCIA, Judge
                                                           United States District Court
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